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                    IN THE UNITED STATES DISTRICT
                       COURT FOR THE SOUTHERN
                        DISTRICT OF MISSISSIPPI
                          NORTHERN DIVISION

OLIVIA Y., et al.                                               PLAINTIFFS

v.                                        CIVIL ACTION NO. 3:04CV251LN

PHIL BRYANT,
 as Governor of the State of Mississippi, et al.              DEFENDANTS



       2nd MODIFIED MISSISSIPPI SETTLEMENT AGREEMENT
                       AND REFORM PLAN




                                                                         EXHIBIT
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INTRODUCTION

This 2nd Modified Mississippi Settlement Agreement and Reform Plan (the "2nd MSA") shall
supersede the Mississippi Settlement Agreement and Reform Plan entered as a Court Order on
January 4, 2008 (the "initial Settlement Agreement") [Dkt. No. 459] as well as the Modified
Mississippi Settlement Agreement and Reform Plan entered as a Court Order on July 6, 2012,[Dkt.
No. 571]. This 2nd MSA shall resolve all remaining claims in the above-captioned case, Olivia Y v.
Bryant. et al. Paragraph 1 of the Stipulated Settlement Agreement approved by the Court on June
15, 2007[Dkt. No. 425] is hereby incorporated into this 2nd MSA.

The United States District Court for the Southern District of Mississippi, Northern Division, shall
have continuing jurisdiction to enforce the terms ofthis 2nd MSA.

The intent of this 2nd MSA, which becomes effective on January 1, 2018, is to set forth and
maintain the child welfare infrastructure, standards, and outcomes that Defendants must meet within
specified timeframes statewide.

Defendants do not speak for the Mississippi Legislature, which has the power under Mississippi law
to determine the appropriations for the state's child welfare programs. However, at least annually
after Court approval of this 2nd MSA, and consistent with existing state budgetary practices and
legal requirements, Defendants shall request state funds and any federal/special fund authorization
sufficient to effect the provisions and outcome measures set forth in this 2nd MSA. In connection
with any budget, funding, or allocation request to the executive or legislative branches of state
government to the extent that it is anticipated that the funding of critical needs shall be met, in
whole or in part, by way of federal fund sources, Defendants shall request federal fund
authorization in amounts which are determined to be realizable and consistent with regular
budgetary needs assessments. Nothing in this paragraph in any way limits Defendants' obligations
under this 2nd MSA.

Such budgetary requests, which shall be provided to the Monitor, shall, among other things, identify
for the executive and legislative branches of state government, with sufficient particularity, the
known and anticipated costs to the state for the timely implementation of the reforms and outcome
measures provided for herein.

Defendants shall take necessary steps to maximize available federal funding opportunities to serve
children in the State's custody.

Nothing in this 2nd MSA shall be construed as infringing on the authority of the state courts of
Mississippi to exercise their jurisdiction over individual class members. Defendants will not be held
accountable for the state courts' exercise of such jurisdiction in any individual case, as long as
Defendants requested that the state court exercise its jurisdiction consistent with the requirements of
the rd MSA in that individual case.




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SYSTEMIC INFRASTRUCTURE STANDARDS

  1.   Agency Leadership

The Mississippi Department of Child Protection Services ("MDCPS") shall maintain a
Commissioner of Child Protection Services having responsibility for the oversight and management
of the MDCPS. That person shall be qualified by at least a bachelor's degree from an accredited
institution of higher learning and ten (10) years' experience in management, public administration,
finance, or accounting or a master's or doctoral degree from an accredited institution of higher
learning and five (5) years' experience in management, public administration, finance, law, or
accounting. Should the related Mississippi statute that establishes qualifications for the
Commissioner change, the revised statute will govern.

1.1    Worker and Supervisor Qualifications

1.1.a. MDCPS shall hire caseworkers who have, at minimum, a bachelor's degree in social work or
       a related human services degree. The Monitor shall review and determine which degrees
       qualify as related human services degrees.

1.1.b. MDCPS shall hire or promote to the position of caseworker supervisor only persons who
       have, at minimum,the following qualifications:

       1.1.b.1.       A master's degree in social work or a related human services degree and two
                      years of experience working with children and families, preferably in foster
                      care; or

       1.1.b.2.       A bachelor's degree in social work or a related human services degree with
                      three years of experience working with children and families, preferably in
                      foster care.

1.2    Training

1.2.a. MDCPS shall maintain a Training Unit headed by a qualified director of training. The
       Training Unit shall have sufficient staffing, funding, and other resources to assure that
       comprehensive child welfare training is provided to enable all caseworkers, supervisors, and
       other child welfare agency employees to comply with the relevant mandates of this 2nd
       MSA, MDCPS policy, and reasonable professional standards.

1.2.b. MDCPS caseworkers shall receive a minimum of 270 hours of pre-service training, which
       includes instructional training and supervised field training, and may include E-Learning.
       Any E-Learning training is subject to the approval of the Monitor. Pre-service training
       provided during an MDCPS internship or previous employment with MDCPS may be
       counted towards the pre-service training requirement if that training is substantially similar
       to the training provided to new hires.

1.2.c. MDCPS caseworker trainees, as part of pre-service training, may be assigned specific tasks
       or activities in connection with a case that is the primary responsibility of an experienced
       caseworker and may, under appropriate supervision, be assigned responsibility for a
       "training caseload" with progressively responsible caseload assignment:

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       1.2.c.I.          Upon successful completion of a competency test, reviewed and approved by
                         the Monitor and administered subsequent to the trainee's fourth week of
                         work, up to five (5)cases may be assigned with supervisor approval.

       1.2.c.2.          Final caseloads may be assigned after successful completion of pre-service
                         training, all competency-based tests and a satisfactory review by the training
                         team.

       1.2.c.3.          All competency tests, modifications to competency tests, and the standards
                         for passing competency tests, must be reviewed and approved by the
                         Monitor.

1.2.d. Starting in calendar year 2018, MDCPS caseworkers shall receive a minimum of 20 hours of
       in-service training, and all supervisors shall receive a minimum of 12 hours of in-service
       training. Beginning in 2019, MDCPS caseworkers shall receive a minimum of 40 hours of
       in-service training each year, and all supervisors shall receive a minimum of 24 hours of in-
       service training each year.

1.2.e. MDCPS caseworker supervisors, within 90 days of hire or promotion, shall receive a
       minimum of 40 hours of training, directed specifically at the supervision of child welfare
       caseworkers.


1.3     Caseloads

1.3.a. 90% of MDCPS caseworkers will have caseloads which do not exceed the caseload
       standards set forth below. Individual MDCPS caseworkers with generic caseloads shall not
       carry a mixed caseload that exceeds 100% capacity as calculated by the following weights
       per case type:

                        Type of Case                           Standards         Weight Per Case —
                                                                                  100% Capacity
  Child Protection                                          14 Investigations         0.0714
 (Investigations Level 2 and 3)
  Ongoing Foster Care                                          14 Children             0.0714
 (Placement Responsibility & Service)
  Ongoing Foster Care                                                                  0.0357
 (Placement County of Responsibility)
  Ongoing Foster Care                                                                  0.0357
 (Placement County of Service)
  In-Home Cases                                                17 Families             0.0588
 (Protection Responsibility & Service, Prevention
  Responsibility & Service and Interstate Compact on the
  Placement of Children (ICPC)-Incoming)
  In-Home Cases                                                                        0.0294
 (Protection or Prevention County of Responsibility)
  In-Home Cases                                                                        0.0294
 (Protection or Prevention County of Service)
  Adoption                                                     15 Children             0.0667
 (Adoption County of Service)


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                       Type of Case                           Standards         Weight Per Case —
                                                                                 100% Capacity
 New Application Licensing                                    15 Homes               0.0667
 (Resource Inquiry, Interstate Compact on the Placement of
  Children(ICPC) Application, and Foster Home Study)
 Renewal Licensing                                            36 Homes               0.0278
 (Foster Home Supervision and Foster Home Renewal)

1.3.b. 85% of MDCPS supervisors shall be responsible for no more than five(5) caseworkers.


1.4     Continuous Quality Improvement

1.4.a. By December 1st of each year, MDCPS shall develop an annual Continuous Quality
       Improvement Plan, which shall be subject to the approval of the Monitor after consultation
       with the parties.

1.4.b. Upon approval, MDCPS will implement the CQI Plan and will do so with sufficient staff
       and resources to assess compliance with those provisions of the 2'd MSA that were
       identified for review in the Plan. The reviews will assess case practice, analyze outcomes,
       and produce analysis that will be shared with managers and stakeholders to achieve
       performance improvement.


1.5     Management Information Systems

1.5.a. MDCPS shall maintain comprehensive information systems that permit:(1) timely access by
       authorized MDCPS staff to information, including current and historical case documents, to
       support child safety and continuity of care across placement settings and services; (2)
       capturing, tracking, and reporting of applicable financial information, quantitative 2nd MSA
       compliance, longitudinal performance, and child welfare information, including federally
       required elements; and (3) prompts for workers and supervisors regarding required actions
       in a child's case and whether they have taken place.

1.5.b. MDCPS shall have a Comprehensive Child Welfare Information System (CCWIS)
       appropriate to its size and complexity that shall meet federal requirements by June 30, 2021.
       Defendants shall take reasonable steps to ensure data quality and verification of the accuracy
       of data in CCWIS. The CCWIS system shall have the necessary controls to decrease the
       risk of duplication of data and to reduce the risk of incorrect or invalid data. The system
       shall provide a visible trail to authorized administrators of all information entered, added,
       deleted, or modified, and shall have necessary security to protect data integrity. This system
       shall be audited at least annually to ensure the accuracy and validity of data in the system.

1.6     Data Collection and Reporting

1.6.a. MDCPS shall provide to all county agency staff with child welfare responsibilities access to
       computer services, word processing, and electronic mail and access to the current
       management information systems and to CCWIS,once implemented.


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1.6.b. Data related to compliance with the 2' MSA's Foster Care Service Standards will be
       collected, analyzed, and made available, at least quarterly, to MDCPS regional and county
       staff.

1.6.c. MDCPS county staff shall have access to an electronic statewide database of available
       placement resources.


1.7    Performance Based Contracting

1.7.a. Defendants shall establish, maintain and assess the effectiveness of a performance-based
       contracting system to evaluate annually contract agency compliance with the terms of the
    '  2 1 MSA. Defendants shall take all reasonable steps to ensure contract agency remediation
       of any identified deficiencies within three (3) months. A contract agency's unwillingness to
       participate in remediation efforts will be grounds for contract termination.

1.7.b. Prior to MDCPS contracting for case management services for children in custody, MDCPS
       shall submit for review and approval to the Monitor a detailed plan to ensure accountability
       and provide supervision and oversight of such agencies. The plan must ensure compliance
       with all related provisions ofthis 2'MSA.


1.8    Foster Care Maintenance Payments

1.8.a. Defendants shall ensure that all licensed foster families (regardless of whether they are
       supervised directly by MDCPS or by private providers, and whether they are kinship or
       unrelated foster families) receive at least the minimum reimbursement rate for a given level
       ofservice as established pursuant to the 2nd MSA.

1.8.b. Commencing on the effective date of this 2nd MSA, Defendants shall pay to all licensed
       foster families at least the basic monthly foster care maintenance payments. Every two years
       thereafter, Defendants shall provide increases in the foster care maintenance payments,
       based upon the previous year's rate of inflation.

I.8.c. Within a year of court approval of this 2" MSA, Defendants shall deliver to the Monitor a
       written report setting forth (1) findings regarding the adequacy of a proposed schedule of
       foster care maintenance payments made to foster care providers serving children, including
       children with specialized needs, and facilities providing congregate care in relation to the
       requirements of 42 U.S.C. § 675(4)(A) and the actual cost in the state of Mississippi to
       provide such care; and (2)the methodology utilized to determine the actual costs in the state
       of Mississippi to provide such care. Following review ofthe Defendants' report, the Monitor
       shall establish the rates that Defendants shall then implement.




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FOSTER CARE SERVICE STANDARDS

 2.   Child Safety and Maltreatment in Care

2.1   MDCPS shall ensure that it maintains a statewide system to appropriately receive, screen
      and investigate reports of child maltreatment. MDCPS shall ensure its system is adequately
      staffed and that investigations of all reports are commenced as required by state law and
      conducted and completed pursuant to policy and regulation. Any extensions of the
      timeframes set forth in MDCPS policy for the completion of investigations are subject to the
      review and approval of the Monitor. The Monitor shall periodically review the statewide
      system for appropriately receiving, screening and investigating reports of child
      maltreatment.

2.2   MDCPS shall continue to maintain a special investigations unit whose responsibility is to
      investigate reports of maltreatment of children in custody. The initiation of that
      investigation shall not extend beyond 24 hours.

2.3   MDCPS will develop and implement policies and procedures, subject to the review and
      approval ofthe Monitor, for the Agency to review all maltreatment in care reports that were
      screened-out and assess the appropriateness within 24 hours of all screen-out
      determinations. If the decision to screen-out the report is determined to be inappropriate,
      MDCPS shall ensure the report is referred for investigation immediately.

2.4   Upon receipt of a substantiated report of child maltreatment in a contract agency group
      home or emergency shelter, MDCPS shall, within 30 calendar days, initiate a licensure
      investigation, that is in addition to and independent of the child protection investigation.
      The licensure investigation shall include an on-site inspection by MDCPS of the emergency
      shelter or group home to determine the contract provider's compliance with MDCPS
      licensure standards. If the provider is found to be in violation of licensure standards, the
      provider shall have 10 calendar days to submit a Corrective Action Plan (CAP) with
      timeframes to rectify the violation and comply with the approved CAP timeframes. If the
      provider does not comply with the licensure standards based on the approved CAP and
      timeframes, MDCPS shall revoke the license.

2.5   Upon receipt of a report of child maltreatment in a private child placing agency foster home,
      MDCPS staff will notify the child placing agency, who shall, within 30 calendar days,
      initiate a licensure investigation that is in addition to and independent of, any child
      protection investigation. The licensure investigation shall include an on-site inspection by
      the child placing agency's staff of the foster home to determine the provider's compliance
      with licensure standards. If the provider is found to be in violation of licensure standards,
      the provider shall have 10 calendar days to submit a CAP with timeframes to rectify the
      violation and comply with the approved CAP timeframes. If the provider does not comply
      with the licensure standards based on the approved CAP and timeframes, MDCPS shall
      recommend that the license be revoked.

2.6   All allegations of maltreatment of a child in custody shall be investigated by a worker who
      has received training on intake and investigations processes, policies, and investigation
      techniques and has no ongoing connection to the foster care case.


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2.7    Within 30 days ofthe completion of any investigation of maltreatment of a child in custody,
       as required in Section 2.1, MDCPS shall review the maltreatment investigation. This review
       shall:

      2.7.a. Identify any case practice deficiencies in the investigation and any remedial actions
             necessary to ensure the safety of the child who is the subject of the investigation, as
             well as any other children in the home or placement.

      2.7.b. Identify a timeframe in which any recommended remedial action must take place.

      2.7.c. Monitor the initiation and completion of the remedial actions regarding individual
             child safety and case practice.

      2.7.d MDCPS shall notify the Area Social Work Supervisor (ASWS), Regional Director
           (RD), and Director of Field Operations when such remedial actions have not been
            initiated within five(5)calendar days of identification or timely completed.

2.8    MDCPS shall assure that standardized decision-making criteria are used for prioritizing,
       screening, and assessing all reports of maltreatment of children in MDCPS custody.

       2.8.a. All investigations into reports of maltreatment of children in MDCPS custody must
              be completed within 30 calendar days, including supervisory approval. MDCPS
              shall assure that such investigations and decisions are based on a full and systematic
              evaluation ofthe factors that may place a child in custody at risk.

              2.8.a.I.       By July 1, 2018, at least 90% of maltreatment-in-care investigations
                             will be initiated and completed within 30 days.

       2.8.b. Any foster child who remains in the same out-of-home placement following an
              investigation into a report that he or she was maltreated in that placement shall be
              visited in the placement by an MDCPS caseworker according to the following
              schedule:

                  2.8.b.1.   Once per week for the first month and twice per month for three (3)
                             months ifthe investigation is found to be substantiated; or

                  2.8.b.2.   Twice per month in accordance with MDCPS policy if the
                             investigation is found to be unsubstantiated.

       2.8.c. When a maltreatment investigation involves a foster or adoptive home, MDCPS shall
              file a copy of the approved final investigative report, and any recommendations
              and/or corrective actions MDCPS has deemed necessary, in the case record of the
              foster child, in the file of the foster or adoptive parents with a copy of the letter of
              notification to the foster or adoptive parents, and with the Bureau Director for
              Licensure. MDCPS shall also provide those records to the Youth Court Judge with
              jurisdiction over the child and, upon request, to the Monitor.

       2.8.d. When a maltreatment investigation involves an agency group home, emergency
              shelter, private child placing agency foster home, or other facility licensed by

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              MDCPS, a copy of the final investigative report shall be filed in the child's case
              record, with the Director of Congregate Care Licensure, and sent to the licensed
              provider facility. MDCPS shall provide the report to the Youth Court Judge with
              jurisdiction over the child and, upon request, to the Monitor.

2.9    The rate of child abuse and neglect among children in foster care shall not exceed 0.33% per
       year, effective for the period beginning January 1, 2018. The parties adopt the following
       definition for this metric:

       2.9.a. Of all children in foster care during the period, what percent were victims of
              substantiated maltreatment by a foster parent or facility staff member. A child is
              counted as having been maltreated in foster care if the perpetrator of the
              maltreatment was identified as a foster parent or a residential facility staff member.
              The numerator shall consist of all children whose maltreatment is substantiated
              during the period. The denominator shall consist of all children placed in foster care
              during     the    period.   The      observation      period     is     12      months.


 3.    Family-Based Placements

3.1    All foster homes and facilities with children placed who are in the custody of MDCPS shall
       be timely licensed and subject to the licensure process approved by Public Catalyst on
       December 31, 2016.

3.2    For Unlicensed Placements that Cannot Meet Licensure Standards

       3.2.a. No child shall remain in a foster home or facility determined to be unable to meet
              MDCPS licensing standards, absent an order by a state court with jurisdiction over
              child custody directing the placement of the child into a specific unlicensed
              placement. Defendants shall not be held accountable for a state court's order as long
              as MDCPS documents that it presented information to the court that the foster home
              has not met licensing standards, the reasons why the foster home has not and cannot
              meet licensing standards, and that a licensed foster home or facility is available, or
              one time only, an appropriate expedited relative placement.

       3.2.b. Safety Issues: If it is determined that an unlicensed foster home or facility is unable
              to meet MDCPS licensing standards due to a safety issue, Defendants shall take all
              reasonable efforts to immediately ensure the child's safety and to remove the child,
              including, if required by the court, seeking an emergency court order. Defendants
              shall not be held accountable for the state court's order as long as MDCPS
              documents that it presented information to the court that the unlicensed foster home
              or facility has not met licensing standards and that a licensed foster home or facility
              or an expedited relative placement is available. If the child is not in imminent
              danger, MDCPS shall implement a safety plan and within five (5) calendar days,
              either cure the licensing deficiency if feasible, or move the child to a licensed foster
              home or facility, or to an appropriate expedited relative placement, one time only.

       3.2.c. Non-safety Issues: If MDCPS determines an unlicensed foster home to be unable to
              meet MDCPS licensing standards due to a non-safety issue, Defendants shall, within

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              30 calendar days of that determination, either cure the licensing deficiency if
              feasible, or move the child to a licensed foster home or facility, or to an appropriate
              expedited relative placement, one time only.

3.3    Foster Home Development

       3.3.a. MDCPS, in conjunction with the Monitor, shall establish annual statewide and
              county performance requirements and time periods for new foster home licensure.
              The Monitor will report to the parties MDCPS progress on achieving the
              performance requirements. The Defendants shall meet the performance
              requirements, including time periods.

       3.3.b. MDCPS shall begin to implement the annual plan to recruit and retain additional
              licensed foster home placements and shall maintain the additional number of total
              placements, as necessary during the applicability of the 2nd MSA.


 4.    Placement Standards

4.1    No foster home shall provide care for more than five (5) children (including foster,
       biological, and adoptive children) at any given time, in accordance with the following:

          4.1.a. Foster homes may provide care for more than three foster children, up to a total
                 of five, only with the documented approval of MDCPS Office of Licensure
                 determining that the foster children can be safely maintained in the foster home.

          4.1.b. No more than two children in the foster home may be under the age of two or
                 have therapeutic needs, including the biological and/or adoptive children.

          4.1.c. Notwithstanding the above, a sibling group may be placed together in the same
                 foster home in excess of these limits, but only if they are the only children in the
                 home, and only upon written approval by the MDCPS Licensure Director
                 determining that the foster children can be safely maintained in the home.

4.2    Children with special needs shall be matched with placement resources that can meet their
       therapeutic and medical needs. MDCPS shall ensure that each county office has access to
       resource workers within its region who have the ability to ascertain the placement resources
       available and their suitability for each particular child needing placement.

4.3    Each foster child shall be placed in the least restrictive setting that meets his/her individual
       needs as determined by a review of all intake, screening, assessment, and prior placement
       information regarding the child available at the time of placement. In order of
       consideration, this means: placement with relatives; foster home care within reasonable
       proximity to the child's home community; resource home care outside of the child's home
       community; group home care; or institutional care.

4.4    Each child who enters placement (from regions other than II-East, II-West, and V-West)
       shall be placed within his/her own county or within 50 miles ofthe home from which he/she
       was removed. This provision shall not apply if:

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            4.4.a.   The child's needs are so exceptional that they cannot be met by a family or
                     facility within his/her own county or within 50 miles of the home from which
                     he/she was removed;

            4.4.b.   The child is placed through the ICPC consistent with its terms;

            4.4.c.   The child is appropriately placed with relatives;

            4.4.d.   The child, age 14 years or older, is pursuing educational or vocational
                     opportunities;

            4.4.e.   The child is ordered to be placed in a child-specific foster care setting by a
                     court [subject to the court order exception in Section 3.2.a]; or

            4.4f     The child is placed in an adoptive home.

4.5    Each child who enters placement from Regions II-East, II-West, and V-West shall be placed
       within his/her own county or within 75 miles of the home from which he/she was removed.
       This provision shall not apply if:

            4.5.a.   The child's needs are so exceptional that they cannot be met by a family or
                     facility within his/her own county or within 50 miles of the home from which
                     he/she was removed;

            4.5.b.    The child is placed through the ICPC consistent with its terms;

            4.5.c.    The child is appropriately placed with relatives;

            4.5.d.    The child, age 14 years or older, is pursuing educational or vocational
                      opportunities;

            4.5.e.    The child is ordered to be placed in a child-specific foster care setting by a
                       court [subject to the court order exception in Section 3.2.a]; or

            4.51.     The child is placed in an adoptive home.

      This provision shall be evaluated by the Monitor in December 2018 to determine whether the
      75 mile exception is still necessary.

4.6    Siblings who enter placement at or near the same time shall be placed together unless: (1)
       doing so would be harmful to one or more of the siblings; (2) one of the siblings has
       exceptional needs that can be met only in a specialized program or facility; or(3) the size of
       the sibling group makes such placement impractical notwithstanding diligent efforts to place
       the group together. If a sibling group is separated at initial placement, the caseworker shall
       make immediate efforts to locate or recruit a foster family in whose home the siblings can be
       reunited. These efforts will be documented and maintained in the case file.



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4.7    Defendants shall take all reasonable steps to avoid the disruption of an appropriate
       placement and ensure placement stability for children. If there is a documented indication
       that a placement may disrupt, the caseworker shall immediately take steps to determine the
       following:

        4.7.a.   The cause ofthe potential disruption;

        4.7.b.   Whether the placement is appropriate for the child;

        4.7.c.   Whether additional services are necessary to support the placement;

        4.7.d.   Whether the child needs another placement; and

        4.7.e.   If another placement is necessary, what that placement should be.

        These efforts shall be documented in the child's case record.

4.8     No child shall remain overnight in an MDCPS office or other nonresidential facility that
        provides intake functions.

4.9     No child under 10 years of age shall be placed in a congregate care setting (including group
        homes and shelters) unless:

        4.9.a.   The child has exceptional needs that cannot be met in a licensed foster home; or

        4.9.b.   In order to keep a sibling group together for a temporary period, not to exceed 15
                 days and the RD has granted documented approval for the congregate care
                 placement; or

        4.9.c.   To enable a mother and baby to be placed together and there is not an available
                 foster home for both ofthem.

4.10    No foster child shall be moved from his/her existing placement to another placement unless
        MDCPS specifically documents in the child's case record justifications for that move and
        the move is approved by an MDCPS supervisor.

4.11    No child shall be placed in more than one emergency or temporary facility within one
        episode of foster care, unless an immediate placement move is necessary to protect the
        safety ofthe child or of others with documented approval from the RD.

4.12    90% of children shall remain in his/her existing placement and not be moved to another
        placement unless MDCPS specifically documents in the child's case record justifications for
        that move and the move is approved by a MDCPS supervisor.

        4.12.a. By July 1, 2018, 70% of children will remain in his/her existing placement
                according to this section.




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        4.12.b. By July 1, 2019, 80% of children will remain in his/her existing placement
                according to this section.

        4.12.c.   By July 1, 2020, 90% of children will remain in his/her existing placement
                  according to this section.

4.13    95% of foster homes shall provide care to a number of children that is not in excess of five
       (5) children (including foster, biological, and adoptive children) at any given time. Foster
        homes may provide care for more than three foster children, up to a total of five, only with
        the documented approval of MDCPS Office of Licensure determining that the foster
        children can be safely maintained in the home. No more than two children in the foster
        home may be under the age oftwo or have therapeutic needs, including the biological and/or
        adoptive children. Notwithstanding the above, a sibling group may be placed together in the
        same foster home in excess of these limits, but only if they are the only children in the
        home, and only upon written approval by the MDCPS Licensure Director determining that
        the foster children can be safely maintained in the home.

        4.13.a. By July 1, 2018, 70% of foster homes will provide care to a number of children not
                in excess ofthe 2nd MSA foster home population limitations.

        4.13.b. By July 1, 2019, 80% offoster homes will provide care to a number of children not
                in excess ofthe 2nd MSA foster home population limitations.

        4.13.c.   By July 1, 2020,95% of foster homes will provide care to a number of children not
                  in excess ofthe 2nd MSA foster home population limitations.

4.14    At least 95% of children with special needs shall be matched with placement resources that
        can meet their therapeutic and medical needs.

        4.14.a. By July 1, 2018, 60% of children with special needs shall be matched with
                placement resources that meet their therapeutic and medical needs.

        4.14.b. By July 1, 2019, 75% of children with special needs shall be matched with
                placement resources that meet their therapeutic and medical needs.

        4.14.c.   By July 1, 2020, 95% of children with special needs shall be matched with
                  placement resources that meet their therapeutic and medical needs.

4.15    At least 95% of children in MDCPS custody shall be placed in the least restrictive setting
        that meets their individual needs consistent with 2nd MSA requirements.

4.16    At least 90% of siblings who entered MDCPS custody at or near the same time shall be
        placed together consistent with 2nd MSA requirements.

        4.16.a. By July 1, 2018, 60% of siblings entering MDCPS custody at or near the same
                time shall be placed together.

        4.16.b. By July 1, 2019, 75% of siblings entering MDCPS custody at or near the same
                time shall be placed together.

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       4.16.c.      By July 1, 2020, 90% of siblings entering MDCPS custody at or near the same
                    time shall be placed together.

4.17    At least 90% of children in MDCPS custody with a documented indication that they were
        subject to a potential or actual placement disruption shall have documented in the child's
        case record the reasonable steps taken to address placement stability consistent with 2nd
        MSA requirements:

        4.17.a.     By July 1, 2018, 60% of children in MDCPS custody with a documented
                    indication that they were subject to a potential or actual placement disruption shall
                    have documented in the child's case record the reasonable steps taken to address
                    placement stability.

        4.17.b.     By July 1, 2019, 75% of children in MDCPS custody with a documented
                    indication that they were subject to a potential or actual placement disruption shall
                    have documented in the child's case record the reasonable steps taken to address
                    placement stability.

        4.17.c.     By July 1, 2020, 90% of children in MDCPS custody with a documented
                    indication that they were subject to a potential or actual placement disruption shall
                    have documented in the child's case record the reasonable steps taken to address
                    placement stability.

4.18    90% of children who enter MDCPS custody shall be placed within his/her own county or
        within 50 miles of the home from which he/she was removed unless the child entered
        custody in Regions II-East, II-West, or V-West or one ofthe exceptions provided in this 2nd
        MSA is documented as applying.

4.19    90% of children who enter MDCPS custody in Regions II-East, II-West, and V-West shall
        be placed within his/her own county or within 75 miles of the home from which he/she was
        removed unless one of the exceptions provided in this 2nd MSA is documented as applying.


 5.     Visitation

5.1     Worker Contact and Monitoring

        5.1.a. MDCPS shall meet with the child in person at least twice monthly to assess the
               child's safety and well-being, service delivery, and achievement of permanency and
               other service goals. At least one visit per month shall take place in the child's
               placement.

                   5.1.a.1.     By July 1, 2018 at least 75% of foster children shall have an MDCPS
                                caseworker meet with the child at least two times per month; at least
                                one visit per month shall take place in the child's placement.

                  5.1.a.2.      By January 1, 2019 at least 90% of foster children shall have an
                                MDCPS caseworker meet with the child at least two times per month;
                                at least one visit per month shall take place in the child's placement.

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      5.1.b. During any 90-day trial home visit period, an MDCPS caseworker shall meet with
             the child in the home at least two times per month.

              5.1.b.1.       By July 1, 2018 at least 75% offoster children receiving a 90-day trial
                             home visit period shall have an MDCPS caseworker meet with the
                             child in the home at least two times per month.

              5.1.b.2.       By January 1, 2019 at least 90% of foster children receiving a 90-day
                             trial home visit period shall have an MDCPS caseworker meet with
                             the child in the home at least two times per month.

      5.1.c. MDCPS shall meet, at least monthly, with the child's parent(s) with whom the child
             is to be reunified, if the child has a permanency goal of reunification, to discuss
             progress on the family service plan and the child's well-being, unless the child's
             parent(s) reside out-of-state or are incarcerated.

              5.1.c.1.       By July 1, 2018, for at least 75% of foster children with a goal of
                             reunification, MDCPS shall meet with the child's parents at least
                             monthly unless the child's parent(s) reside out-of-state or are
                             incarcerated.

              5.1.c.2.       By January 1, 2019, for at least 90% of foster children with a goal of
                             reunification, MDCPS shall meet with the child's parents at least
                             monthly unless the child's parent(s) reside out-of-state or are
                             incarcerated.

      5.1.d. MDCPS shall visit, at least monthly, with foster parents who have one or more foster
             children residing in their home to assess the child's safety and well-being in the
             placement and ensure appropriate services are provided.

              5.1.d.1.       By July 1, 2018, at least 75% of foster parents with at least one foster
                             child in the home shall have MDCPS visit the home monthly.

              5.1.d.2.       By January 1, 2019, at least 90% of foster parents with at least one
                             foster child in the home shall have MDCPS visit the home monthly.

5.2    Developing and Maintaining Connections

       5.2.a. MDCPS shall arrange contact for the child with his/her parents and with any siblings
              not in the same placement within 72 hours of foster care placement unless there are
              documented reasons why contact should not occur. If a visit cannot be arranged
              within 72 hours, a telephone call to parents, siblings, or extended family members
              shall be provided to the child.

       5.2.b. For children entering foster care, a visitation plan for the child and his/her family
              shall be developed as part of the Family Service Plan. The visitation plan shall be
              developed and regularly updated in collaboration with parents, foster parents, and the
              child.


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           5.2.b.1.     If parental visitation is appropriate, this visitation plan shall include a
                        minimum of two visits per month with the parents, unless the court
                        order in the child's case limits such visits or unless it is documented
                        that a parent failed to make himself or herself available.

                        5.2.b.l.a.      By January 1, 2019, 90% of children shall be provided
                                        with contacts with their parents consistent with 2'
                                        MSA requirements.

           5.2.b.2.     The child's visitation plan, regardless of permanency goal, shall
                        include at least monthly visits with any siblings not in the same
                        placement:

                        5.2.b.2.a.      By January 1, 2019, 80% of children shall be provided
                                        with contacts with any siblings in custody not in the
                                        same placement consistent with 2nd MSA
                                        requirements.

           5.2.b.3.     As long as they are separated, all reasonable efforts shall be made to
                        facilitate twice monthly in-person visits for children six (6) years of
                        age and younger with their siblings in placement. All other children in
                        placements separated from their siblings in placement, shall have at
                        least monthly visits among separated siblings. Siblings shall have
                        interim contact by alternative means such as email, texts, telephone
                        calls, Facetime, and/or Skype.

           5.2.b.4.     Exceptions to the sibling visitation requirement are:

                        5.2.b.4.a.      The child or sibling is placed out of state pursuant to
                                        ICPC;

                        5.2.b.4.b.      The visit may be harmful to one or more ofthe siblings
                                        as determined by the court or documented in the record
                                        why the visit would be harmful to one or more of the
                                        children;

                        5.2.b.4.c.      One of the siblings is above the age of 14 and refuses
                                        such visits and the reason for such refusal is
                                        documented in the case record.

     5.2.c. MDCPS and its contracting agencies shall implement a policy that prohibits
            cancellation of visits as a form of discipline against children.




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 6.    Child and Youth Permanency

6.1    Comprehensive Family Service Plans

      6.1.a. Within 45 days of taking a child into custody, MDCPS shall complete a
             comprehensive Family Service Plan which shall be developed in consultation with
            (1) the child and the MDCPS caseworker; (2) the child's parents and the MDCPS
             caseworker; and (3) the foster care provider and the MDCPS caseworker. The
             Family Service Plan shall address the strengths, needs and services required for both
             the child and their parent(s); shall be reviewed and approved by the supervisor and
             shall be maintained in the child's case file.

             6.1.a.1.       By July 1, 2018 at least 75% of Family Service Plans shall be
                            submitted by the caseworker consistent with 2nd MSA requirements,
                            within 30 calendar days of a child's entry into custody. The
                            supervisor shall review the Plan for approval within 15 calendar days.
                            The Family Service Plan shall be considered complete upon
                            documented supervisory review and approval.

             6.1.a.2.       By January 1, 2019 at least 90% of Family Service Plans shall be
                            submitted by the caseworker consistent with 2nd MSA requirements,
                            within 30 calendar days of the child's entry into custody. The
                            supervisor shall review the Plan for approval the within 15 calendar
                            days. The Family Service Plan shall be considered complete upon
                            documented supervisory review and approval.

      6.1.b. In instances in which it is impossible to meet with one or both parents, the service
             planning process will proceed as described above, notwithstanding the parent's
             absence.

      6.1.c. In those cases in which the whereabouts of one or both parents is unknown, MDCPS
             shall, within 30 days, institute a diligent search for the parent(s), which shall be
             documented in the child's case record.

             6.1.c.1.       By July 1, 2018 in at least 75% of placement cases in which the
                            whereabouts of one or both parents is unknown MDCPS shall, within
                            30 days, institute a diligent search for the parent(s), which shall be
                            documented in the child's case record.

             6.1.c.2.       By January 1, 2019 in at least 90% of placement cases in which the
                            whereabouts of one or both parents is unknown MDCPS shall, within
                            30 days, institute a diligent search for the parent(s), which shall be
                            documented in the child's case record.

       6.1.d. Within 45 calendar days of the child's initial placement, MDCPS shall complete a
              permanency plan that specifies the child's permanency goal, a timeframe for
              achieving permanency, and activities that support permanency.



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             6.1.d.1.        By July 1, 2018 for at least 75% of foster children who enter custody,
                             permanency plans shall be submitted within 30 calendar days of the
                             child's entry into custody by the caseworker consistent with 2'MSA
                             requirements. The supervisor shall review the plan for approval
                             within 15 calendar days. The permanency plan shall be considered
                             complete upon documented supervisory review and approval.

             6.1.d.2.        By January 1, 2019 for at least 90% of foster children who enter
                             custody, permanency plans shall be submitted within 30 calendar days
                             ofthe child's entry into custody by the caseworker consistent with 2"
                             MSA requirements. The supervisor shall review the plan for approval
                             within 15 calendar days. The permanency plan shall be considered
                             complete upon documented supervisory review and approval.

6.2    Concurrent Permanency Planning

      6.2.a. For children with the goal of reunification, MDCPS shall begin, within the first six
             months ofthe child's entry into care, to engage in concurrent permanency planning.

              6.2.a.1.       At least 95% of children in custody with the goal of reunification
                             shall have case record documentation reflecting active concurrent
                             permanency planning consistent with 2' MSA requirements.

6.3   Permanency Case Goals

      6.3.a Reunification

              6.3.a.1. When the child's permanency goal is reunification, MDCPS shall identify
                       in the Family Service Plan and make available, directly or through referral,
                       those services MDCPS deems necessary to address the behaviors or
                       conditions resulting in the child's placement in foster care and to help the
                       parents develop strategies to facilitate permanency for the child.
                       Caseworkers will monitor the provision of services through visits and
                       updating of service plans.

                         6.3.a.1.a.   By July 1, 2018 at least 75% of foster children with a
                                      permanency goal of reunification shall have service plans for
                                      their parents that identify those services MDCPS deems
                                      necessary to address the behaviors or conditions resulting in
                                      the child's placement in foster care and case record
                                      documentation that MDCPS made those identified services
                                      available directly or through referral.

                         6.3.a.1.b.   By January 1, 2019 at least 90% of foster children with a
                                      permanency goal of reunification shall have service plans for
                                      their parents that identify those services MDCPS deems
                                      necessary to address the behaviors or conditions resulting in

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                                  the child's placement in foster care and case record
                                  documentation that MDCPS made those identified services
                                  available directly or through referral.

           6.3.a.2. For a child with a permanency goal of reunification, the child's MDCPS
                    caseworker shall meet with the child's parent(s) with whom the child is to
                    be reunified at least monthly to assess service delivery and achievement of
                    service goals, to keep the family informed and involved in decisions about
                    the child, and to remain current about the family's circumstances.

           6.3.a.3. For children with a permanency goal of reunification, the case record shall
                    document opportunities provided to parents in support of reunification.

           6.3.a.4. When a recommendation to reunify a child with his/her family has been
                    made, MDCPS shall develop an after-care plan with the family that
                    identifies the services necessary to ensure that the conditions leading to the
                    child's placement in foster care have been addressed, and that the child's
                    safety and stability will be assured. MDCPS shall take reasonable steps to
                    provide or facilitate access to services necessary to support the child
                    during the trial home visit.

           6.3.a.5. For each child who has a permanency goal of reunification and who is in
                    fact returned home for purpose of reunification, MDCPS shall provide,
                    subject to the approval of the Youth Court, such child with a 90-day trial
                    home visit, unless the child had been in custody for less than 90 days.
                    During any trial home visit period, a MDCPS caseworker shall meet with
                    the child in the home at least two times per month.

                    6.3.a.5.a.   By July 1, 2018 at least 75% of foster children who are
                                 reunified and who were in custody longer than 90 days shall
                                 receive a 90-day trial home visit period or have case record
                                 documentation reflecting the Youth Court's objection to such a
                                 trial home visit. During the trial home visit period, MDCPS
                                 shall provide or facilitate access to the services identified in
                                 the child's after-care plan, consistent with the 2nd MSA
                                 requirements.

                    6.3.a.5.b.   By January 1, 2019 at least 90% of foster children who are
                                 reunified and who were in custody longer than 90 days shall
                                 receive a 90-day trial home visit period or have case record
                                 documentation reflecting the Youth Court's objection to such a
                                 trial home visit. During the trial home visit period, MDCPS
                                 shall provide or facilitate access to the services identified in



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                                  the child's after-care plan, consistent with the 2nd MSA
                                  requirements.

            6.3.a.6. Before the end of any trial home visit period, MDCPS shall convene a
                      meeting with the child's parents and the child to determine the
                      appropriateness of a final discharge. If final discharge is determined to be
                      appropriate, MDCPS shall make the appropriate application to the Youth
                      Court to be relieved of custody.

     6.3.b. Adoption

           6.3.b.1. Children in custody with the primary permanency goal of adoption shall
                    have an assigned adoption specialist and an adoption plan that identifies the
                    child specific activities that MDCPS will undertake to achieve adoption and
                    the timeframes in which the activities will be undertaken.

                    6.3.b.1.a. By July 1, 2018 at least 70% of children in custody with the
                               primary permanency goal of adoption shall have an assigned
                               adoption specialist and an adoption plan that identifies the child-
                               specific activities that MDCPS will undertake to achieve
                               adoption.

                    6.3.b.1.b. By January 1, 2019 at least 90% of children in custody with the
                               primary permanency goal of adoption shall have an assigned
                               adoption specialist and an adoption plan that identifies the child-
                               specific activities that MDCPS will undertake to achieve
                               adoption.

           6.3.b.2. A termination of parental rights (TPR)referral shall be made on behalf of a
                    child before the child has spent more than 17 of the last 22 months in foster
                    care unless an available exception pursuant to the federal Adoption and
                    Safe Families Act ("ASFA") has been documented by MDCPS in the
                    child's case record. Subsequent to the initial ASFA exception, MDCPS
                    may continue the exception for only one additional six-month period unless,
                    continued invocation of the exception is reviewed, approved and
                    documented semi-annually by the RD assigned to the county of
                    responsibility for the child.

                    6.3.b.2.a. By July 1, 2018 a termination of parental rights referral shall be
                               made on behalf of at least 70% of children who have spent 17 of
                               the previous 22 months in foster care by the last day of a child's
                               seventeenth month in care, unless an available exception


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                                  pursuant to ASFA has been documented by MDCPS in the
                                  child's case record.

                       6.3.b.2.b. By January 1, 2019 a termination of parental rights referral shall
                                  be made on behalf of at least 80% of children who have spent 17
                                  of the previous 22 months in foster care by the last day of a
                                  child's seventeenth month in care, unless an available exception
                                  pursuant to ASFA has been documented by MDCPS in the
                                  child's case record.

                       6.3.b.2.c. By January 1, 2020, a termination of parental rights referral shall
                                  be made on behalf of at least 90% of children who have spent 17
                                  of the previous 22 months in foster care by the last day of a
                                  child's seventeenth month in care, unless an available exception
                                  pursuant to ASFA has been documented by MDCPS in the
                                  child's case record.

            6.3.b.3. MDCPS shall provide to the Monitor a report of all TPR referrals made
                     during the monitoring period, the date those TPR referrals were made, and
                     the date the TPR petition was filed with the court.

     6.3.c. Post-Adoption Services

     Defendants shall establish and maintain a system of post-adoptive services to stabilize and
     maintain adoptive placements. Adoptive families eligible for adoption subsidies shall have
     access to these services, which may include services such as counseling, mental health
     treatment and crisis intervention, family preservation and stabilization services, and peer
     support.

     6.3.d. Durable Legal Custody and Guardianship

            6.3.d.1.        The permanency goals of durable legal custody and guardianship may
                            be assigned when there are documented efforts in the child's case
                            record to move the child to adoption and documentation of a
                            reasonable basis why it is in the child's best interests not to be
                            considered for adoption.

            6.3.d.2.         When the permanency goals of durable legal custody and
                             guardianship are assigned to a child under the age of 14 years old or
                             living with a non-relative, MDCPS shall provide to the Monitor at the
                             end of each monitoring period, information from the child's case
                             record documenting efforts to move the child to adoption and
                             documentation of a reasonable basis why it is in the child's best
                             interests not to be considered for adoption.

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      6.3.e. Another Permanent Planned Living Arrangement(APPLA)

       If MDCPS concludes, after considering reunification, adoption, durable legal custody, and
       permanent placement with a relative, that these permanency plans are inappropriate or
       unavailable for a child, MDCPS may assign a permanency goal of APPLA for the child. In
       such circumstances, (1) the child must be at least 16 years old and (2) MDCPS must
       document a compelling reason why this permanency goal is in the best interest ofthe child.

6.4   Permanency Reviews

      6.4.a.    A child's permanency plan shall be reviewed in a court or administrative case
                review at least every six months. Foster care reviews shall satisfy this
                administrative case review requirement. MDCPS will take all reasonable steps,
                including written notice, to ensure the participation ofthe child, parents, caregivers,
                and relevant professionals in court or administrative reviews.

               6.4.a.1.       By July 1, 2018 at least 80% of foster children who have been in
                              custody for at least six months shall have a timely court or
                              administrative case review consistent with rd MSA requirements.

               6.4.a.2.       By January 1, 2019 at least 90% of foster children who have been in
                              custody for at least six months shall have a timely court or
                              administrative case review consistent with 2nd MSA requirements.

      6.4.b. MDCPS will take all reasonable steps to ensure that a court review, which may be
             called a review, dispositional, or permanency hearing, is held for each child in foster
             care custody within 12 months of initial placement, and annually thereafter.

               6.4.b.1.       By July 1, 2018 for at least 80 % of foster children who have been in
                              custody for at least 12 months MDCPS shall make reasonable efforts
                              to have a timely annual court review scheduled consistent with 2nd
                              MSA requirements.

               6.4.b.2.   By January 1, 2019 for at least 90% of foster children who have been
                          in custody for at least 12 months MDCPS shall make reasonable
                          efforts to have a timely annual court review scheduled consistent with
                          '
                          2 MSA requirements.

       6.4.c. MDCPS shall review documented exceptions pursuant to ASFA for children who
              have spent more than 17 of the previous 22 months in foster care during the child's
              foster care review.

6.5    Permanency Performance Indicators

       6.5.a. By July 1, 2018, the Monitor will establish the performance standards for the
              following indicators, informed by the certified baseline performance established
              during the Stipulated Third Remedial Order("STRO"):



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                  6.5.a.1.   Of all children in foster care on the first day of a 12-month period,
                             which shall commence on October Pt of any given year, the percent
                             of children discharged from foster care to permanency within 12
                             months. The numerator is the number of children in the denominator
                             who discharged from foster care to permanency within 12 months;

                  6.5.a.2.   Of all children in foster care on the first day of a 12-month period,
                             which shall commence on October Pt of any given year, the percent
                             of children discharged from foster care to permanency within 13-23
                             months. The numerator is the number of children in the denominator
                             who discharged from foster care to permanency within 13 -23
                             months;

                  6.5.a.3.   Of all children in foster care on the first day of a 12-month period,
                             which shall commence on October Pt of any given year, the percent
                             of children discharged from foster care to permanency in 24 months
                             and more. The numerator is the number of children in the
                             denominator who discharged from foster care to permanency in 24
                             months and more.

      6.5.b. For all of the foregoing indicators, permanency is defined as: discharges from foster
             care to reunification with the child's parents or primary caregivers; durable legal
             custody; guardianship; or adoption. The parties expect the Monitor to establish
             performance standards that represent a substantial improvement above the certified
             baseline performance established during the STRO. The standards shall take effect
             October 1, 2018.

      6.5.c. By March 15, 2018, the Monitor will establish the performance standards for the
             following indicator, informed by the certified baseline performance established
             during the STRO.

      6.5.d. For all children in the custody of MDCPS who were adopted in FFY2017, the
             Monitor shall validate the average and median lengths of time to adoption
             finalization for each child from the date on which the child's adoption goal was
             established. The parties expect the Monitor to establish performance standards that
             represent a substantial improvement above the certified baseline performance
             established during the STRO.The standards shall take effect October 1, 2018.


7.     Transition to Independent Living

7.1    MDCPS shall provide each youth transitioning to independence with at least six (6) months'
       advance notice of the cessation of any health, financial, or other benefits that will occur at
       the time oftransition.



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7.2    Each foster youth age 14 years and older, regardless of his/her permanency plan, shall be
       provided with an opportunity to participate in the creation of an appropriate Independent
       Living service plan for a successful transition to adulthood.

7.3    Each foster youth age 14 years and older shall have access to the range of supportive
       services necessary to support their preparation for and successful transition to adulthood,
       including Independent Living services eligible for federal reimbursement under the Chaffee
       program which in part promote employment or remove barriers to employment and MDCPS
       shall maintain sufficient resources to deliver Independent Living services to all youth
       described herein.

7.4   MDCPS shall implement a policy and a process by which youth emancipating from the
      foster care system at age 18 or beyond are enrolled for Medicaid coverage so that their
      coverage continues without interruption at the time of emancipation.

7.5   MDCPS shall implement a policy and a process by which youth emancipating from the
      foster care system at age 18 or beyond receive a start-up stipend of at least $1,000.00 at the
      time ofemancipation, or as soon as practicable thereafter.

7.6   MDCPS shall implement a policy and a process by which youth emancipating from the
      foster care system at age 18 or beyond have access to a housing resource specialist
      responsible for assisting the youth obtain an adequate living arrangement.

7.7    MDCPS shall continue to implement policies and processes which ensure that youth
       emancipating from the foster care system at age 18 or beyond receive services and support
       under the State Educational Training and Vocational (ETV) Program for which they are
       eligible.

7.8    MDCPS shall assist youth in obtaining or compiling the following documents and such
       efforts shall be documented in the child's case record:

         7.8.a.   Educational records, such as a high school diploma or general equivalency
                  diploma, and a list of schools attended, when age-appropriate.
         7.8.b.   A social security or social insurance number;
         7.8.c.   A resume, when work experience can be described;
         7.8.d.   A driver's license, when the ability to drive is a goal; if not a driver's license,
                  then a state-issued, photo identification;
         7.8.e.   An original or certified copy of the youth's birth certificate;
         7.81.    Previous placement information;
         7.8.g.   Documentation of immigration, citizenship, or naturalization, when applicable;
         7.8.h.   Documentation oftribal eligibility or membership;
         7.8.i.   Death certificates when parents are deceased;
         7.8.j.   A life book or a compilation of personal history and photographs, as
                  appropriate; and
         7.8.k.   A list of known relatives, with relationships, addresses, telephone numbers, and
                  permissions for contacting involved parties.


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8.     Child Well-Being

8.1   Physical and Mental Health Care

      8.1.a. Children entering foster care shall receive an initial medical screening within 72
             hours of entering foster care.

             8.1.a.1.      By July 1, 2018, 70% of children shall have an initial medical
                           screening within 7 days ofthe child's entry into foster care.

             8.1.a.2.      By July 1, 2019, 80% of children shall have an initial medical
                           screening within 7 days ofthe child's entry into foster care.

             8.1.a.3.      By July 1, 2020, 90% of children shall have an initial medical
                           screening within 72 hours ofthe child's entry into foster care.

      8.1.b. Children entering foster care shall receive an EPSDT or other comprehensive
             medical exam within 30 days of entering foster care. If a child has received an
             EPSDT or other comprehensive medical exam within 72 hours of entering foster
             care, it will count for both the screening and comprehensive medical examination.

             8.1.b.1.      By July 1, 2018, 70% of children shall have an initial EPDST or other
                           comprehensive medical examination within 60 days of the child's
                           entry into foster care.

             8.1.b.2.      By July 1, 2019, 80% of children shall have an initial EPDST or other
                           comprehensive medical examination within 60 days of the child's
                           entry into foster care.

             8.1.b.3.      By July 1, 2020,90% of children shall have an initial EPDST or other
                           comprehensive medical examination within 30 days of the child's
                           entry into foster care.

       8.1.c. Following an initial EPSDT or other comprehensive medical examination, children
              shall receive periodic and on-going medical examinations according to the
              periodicity schedule set forth by the EPSDT program.

             8.1.c.1.      By July 1, 2018, the Monitors in collaboration with MDCPS will
                           establish the performance baseline for periodic and ongoing medical
                           examinations;

             8.1.c.2.      By July 31, 2018, the Monitor will establish performance standards
                           for MDCPS to meet by July 1, 2019.

             8.1.c.3.      By July 1, 2020, 90% of children shall be provided with periodic and
                           on-going medical examinations.




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       8.1.d. Practitioner recommended follow-up treatment will be provided to children
              throughout the time they are in foster care.

              8.1.d.1.       By October 31, 2017, the performance baseline for practitioner
                             recommended follow-up treatment will be established by Public
                             Catalyst as required in the STRO.

              8.1.d.2.       By July 1, 2018, MDCPS shall meet the initial performance standard
                             established by Public Catalyst in the STRO.

              8.1.d.3.       By July 1, 2019, 90% of children shall be provided with practitioner
                             recommended follow up treatment.

       8.1.e. Children in foster care shall receive a dental examination within 90 calendar days of
              foster care placement unless the child has had an examination within six months of
              placement, and every six months thereafter if they are age four or older. Foster
              children who reach the age of four while in foster care shall receive a dental
              examination within 90 calendar days of his/her fourth birthday, and every six months
              thereafter. Every foster child shall receive all medically necessary dental services.

              8.1.e.1.       By July 1, 2018, 60% of children shall have a dental examination
                             within 90 days ofthe child's entry into foster care.

              8.1.e.2.       By July 1, 2019, 80% of children shall have a dental examination
                             within 90 days ofthe child's entry into foster care.

              8.1.e.3.       By July 1, 2020, 90% of children shall have a dental examination
                             within 90 days ofthe child's entry into foster care.

       8.11: Within 15 days of placement, MDCPS shall provide the foster parents or facility
             staff with the completed foster child information form or other electronic record
             containing available medical, dental, educational and psychological information
             about the child.

              8.1.11.        By July 1, 2018, 75% of children shall have information provided to
                             foster parents or facility staff within 15 days of placement.

              8.1.12.        By July 1, 2019, 90% of children shall have information provided to
                             foster parents or facility staff within 15 days of placement.

       8.1.g. By July 1, 2018, 85% of children shall have their Medicaid information provided to
              foster parents or facility staff at the time of placement.

8.2    Educational Services

8.2.a. MDCPS shall review the educational record of each child who enters custody for the
       purpose of identifying the child's general and, if applicable, special educational needs and


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       shall document the child's educational needs within 30 calendar days of his/her entry into
       foster care.

8.2.b. MDCPS shall take reasonable steps to ensure that school-age foster children are registered
       for and attending accredited schools within seven (7) calendar days of initial placement or
       any placement change, including while placed in shelters or other temporary placements.

8.2.c. MDCPS shall make all reasonable efforts to ensure the continuity of a child's educational
       experience by keeping the child in a familiar or current school and neighborhood, when this
       is in the child's best interests and feasible, and by limiting the number of school changes the
       child experiences.

       8.2.c.1.    At least 90% of school-age foster children who enter custody shall have their
                   educational records reviewed and their educational needs documented by
                   MDCPS within 30 calendar days of their entry into foster care.


MONITORING

9.0    Monitoring

9.1    The Parties agree that Public Catalyst shall be the Monitor of Defendants' compliance with
       the provisions of this 2nd MSA.

9.2    Neither party, nor any employee or agent of either party, shall have any supervisory
       authority over the Monitor's activities, reports, findings, or recommendations. The retention
       of the Monitor shall be conducted solely pursuant to the procedures set forth in this
       Agreement and shall not be governed by any formal or legal procurement requirements. The
       Monitor shall have a budget and staff sufficient to allow the Monitor to carry out the
       responsibilities described in this Agreement, and may contract with such experts or
       consultants as the Monitor may deem appropriate, in consultation with the parties. The
       Monitor, and any experts or consultants hired by the Monitor, may initiate and receive ex
       parte communications with the parties.

9.3    The Monitor's duties shall include to independently verify data reports and statistics
       provided pursuant to this 2" MSA. The Monitor shall periodically conduct case record and
       qualitative reviews to monitor and evaluate the Defendants' performance with respect to the
       commitments in this 2'MSA. The Monitor shall also review all plans and documents to be
       developed and produced by Defendants pursuant to this 2nd MSA and report on Defendants'
       compliance in implementing the terms of the 2nd MSA. The Monitor shall take into account
       the timeliness, appropriateness, and quality of the Defendants' performance with respect to
       the terms ofthis 2nd MSA.

9.4    The Monitor shall convene the parties no less frequently than quarterly in order for the
       Defendants to provide a detailed verbal report on the status of Defendants' implementation
       of the commitments contained in this 2nd MSA. At least one week in advance of these
       meetings, Defendants will supply the Monitor and Plaintiffs with available data and
       information with respect to the commitments contained in this 2nd MSA.


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9.5    The Monitor shall provide a written report to the Court and the parties no less frequently
       than annually. The Monitor's reports shall set forth whether the Defendants have met the
       commitments, performance standards and outcomes contained in this 2nd MSA. In addition,
       the Monitor's reports shall set forth the steps taken by Defendants, the reasonableness of
       these efforts, and the adequacy of support for the implementation of these steps; the quality
       of the work done by Defendants in carrying out those steps; and the extent to which that
       work is producing the intended effects and/or the likelihood that the work will produce the
       intended effects. In addition, upon request of either party, the Monitor may issue a report to
       the Court more frequently than annually evaluating Defendants' performance with respect to
       any commitment in this 2nd MSA.

9.6     The Monitor will have full access to Defendants' data and data analysis. Defendants shall
        provide the Monitor with access to all data reports produced in the regular course of
        business respecting topics covered by this 2' MSA. Notwithstanding the existence of
        Defendants' data, data analysis, and reports, however, the Monitor shall have the authority to
        prepare new reports on all topics covered by this 2" MSA and to the extent the Monitor
        deems necessary.

9.7     Defendants agree to provide the Monitor with free and, upon request, private access to all
        individuals within MDCPS and persons within the Executive Branch of Mississippi state
        government, as the Monitor chooses; to assist the Monitor in gaining access to other
        stakeholders in the child welfare system (including but not limited to the staff of contract
        agencies); and to provide the Monitor with free access to all documents, data, and premises
        it deems relevant to their work (including but not limited to documents and data from
        contract agencies and courts). The Monitor agrees to respect the confidentiality of all
        information related to individually identifiable clients, subject to applicable law or the
        Confidentiality Order filed August 5, 2004. Defendants shall take no adverse action against
        individuals or agencies because they shared information with the Monitor pursuant to this
            MSA.

9.8     The reports of the Monitor shall be public documents filed with the Court, except that any
        individually identifying information and any other confidential information protected from
        disclosure by law shall be redacted or otherwise removed from any public report. Any such
        information received by the Monitor, unless already public, shall not be made public without
        Defendants' prior written permission. The Monitor shall provide copies of each of its
        reports to all named Defendants as well as to the heads of the Mississippi House Public
        Health and Human Services Committee and Appropriations Committee and Senate
        Committees on Appropriations and Public Health and Welfare.

9.9     The parties shall have access, through the Monitor, to all information made available to the
        Monitor, and to all other information related to ensuring compliance with and enforcing this
        2nd MSA, subject to the existing confidentiality order in effect in this case. The Monitor
        may protect the identity of confidential sources of any such information.

9.10    The Monitor may periodically meet privately with the Court concerning issues related to this
        case, provided the parties are made aware ofthe occurrence of such a meeting.




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9.11   If at any point the Monitor can no longer serve, the parties shall agree on another Monitor, if
       necessary, with input and recommendations from the outgoing Monitor.

10.     Movement of Commitments to Maintenance Status

10.1   When MDCPS performance, as validated by the Monitor, has attained the highest
       designated performance standard or standards for one 12-month reporting period, as to any
       eligible section of this 2'MSA, the parties agree to conduct good faith discussions at the
       next scheduled quarterly meeting following the publication of the Monitor's annual report
       regarding whether that section of this 2nd MSA and can be designated as "To Be
       Maintained." In the event the parties are unable to reach a unanimous decision whether the
       section shall be designated as "To Be Maintained," the Monitor shall have the authority to
       make the designation but only after consultation with the parties and validation by the
       Monitor that MDCPS performance in that section has attained the highest designated
       performance standard or standards for 24 months. The sections eligible for designation as
       "To Be Maintained" exclude: §1.3 Caseloads, §2 Child Safety and Maltreatment in Care, §3
       Family-Based Placements, §4 Placement Standards, §6 Child and Youth Permanency and
       Adoption.

10.2    Upon designation as "To Be Maintained", the section will not be actively monitored. At the
        Monitor's discretion, the Monitor may request, and MDCPS will supply information and
        data relating to any section in the "To Be Maintained" classification, including information
        sufficient to verify the data. If the information and data demonstrate a significant departure
        from the section, the Monitor shall move the section back into the main active monitoring
        section of this 2nd MSA.


ENFORCEMENT AND EXIT

11      Enforcement and Exit

11.1    From January 1, 2018 through December 31, 2019, Plaintiffs' rights under paragraph 8 of
        the STRO will remain in effect for violations of those still applicable provisions of the
        STRO and for violations of this 2nd MSA, except that during this period, before exercising
        their rights under this paragraph, Plaintiffs shall:

        11.1.a. Notify Defendants in writing oftheir intent and basis for doing so;

        11.1.b. Unless Plaintiffs deem the situation an emergency, and provide support for that
                assertion, Plaintiffs and Defendants shall first meet with the Monitor during a
                period not to exceed 30 calendar days and attempt to resolve the open issues. If
                necessary, and at Plaintiffs' request, the dispute may be resolved with the entry of
                a specific, additional remedial order to address the issue[s] raised by Plaintiffs.

        11.1.c. Plaintiffs agree not to seek relief for isolated or minor violations or for violations
                related solely to an individual child.

        11.1.d. In the absence of agreement by the end of the 30 day period, or the extension of
                that period for an additional period of no more than 30 days upon the mutual
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                 agreement of the parties, Plaintiffs will seek a remedial order from the court
                 pursuant to paragraph 1 ofthe STRO.

11.2    Beginning January 1, 2020, the following enforcement standards shall apply. If Plaintiffs
        believe that Defendants are not in substantial compliance with any provisions of this 2nd
        MSA, Plaintiffs shall notify the Defendants in writing of the asserted non-compliance and
        the basis for that assertion. The parties shall meet with the Monitor as soon as practicable,
        but no later than 30 calendar days thereafter. If the parties are unable to reach a resolution
        with regard to the asserted non-compliance within that 30 day period, or in an additional 30
        day period if both parties agree to the extension, Plaintiffs shall have the right to file a
        motion for contempt with regard to the asserted non-compliance.

        11.2.a. Defendants may seek a court-ordered modification of any provision of this 2'd
                MSA pursuant to Rule 60(b) of the Federal Rules of Civil Procedure if significant
                changes in factual conditions, beyond Defendants' control and not contemplated by
                the Parties at the time this 2nd MSA was entered into, make the provision
                unworkable, make compliance substantially more onerous, or make enforcement
                detrimental to the public interest, and the changed circumstance occurred despite
                Defendants' reasonable effort to comply with this 2'MSA.

        11.2.b. This 2nd MSA represents the full agreement of the parties and it is the intention of
                the parties that it be enforced in full.

11.3    Defendants may seek an order dismissing court jurisdiction of this matter and any remedial
        orders that remain open at the time the application is made, upon Defendants' showing that
        they have achieved and maintained substantial compliance of all ofthe provisions of this 2nd
        MSA based upon 12 continuous months of data that has been verified by the Monitor, prior
        to the application.


ATTORNEYS'FEES

12      Attorney Fees

12.1    All parties reserve all claims and defenses with respect to all claims for an award of
        attorneys' fees and litigation expenses for Plaintiffs which claims shall be separately
        asserted and determined according to a schedule to be fixed by the Court.




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AGREED TO AND APPROVED FOR ENTRY BY: FOR PLAINTIFFS:



/s/ Marcia Robinson Lowry
Marcia Robinson Lowry (pro hac vice MBN 43991)
Sara Robinson-Glasser (pro hac vice MBN 47547)
A BETTER CHILDHOOD,INC.
1095 Hardscrabble Road
Chappaqua, NY 10514
Phone: 646.808.7344
Email: mlowry@abetterchildhood.org
        srglasser@abetterchildhood.org

Wayne Drinkwater(MBN 6193)
Michael J. Bentley(MBN 102631)
BRADLEY, ARRANT,BOULT & CUMMINGS,LLP
One Jackson Place, Suite 400
Jackson, MS 39201
Phone: 601.948.8000
Email: wdrinkwater@bradley.com
       mbentley@bradley.com

John Lang (pro hac vice MBN 43987)
Attorney at Law
60 East 42nd Street, Suite 4600
New York, NY 10165
Tel: 212.300.0646
Email:john.lang@attorneylang.com

Christian D. Carbone (pro hac vice MBN 43986)
LOEB & LOEB,LLP
345 Park Ave.
New York, NY 10154
Tel: 212.407.4000
Email: ccarbone@loeb.com




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FOR DEFENDANTS:

/s/
Governor Phil Bryant
State of Mississippi

/s/
Attorney General Jim Hood
State of Mississippi

 FOR DEFENDANTS:

/s/ Kenya Key Rachal
Kenya Key Rachal(MBN 99227)
James N.("Jake") Adams(MBN 101538)
BAKER,DONELSON,BEARMAN,CALDWELL & BERKOWITZ,PC
Post Office Box 14167
 100 Vision Drive, Suite 400
Jackson, MS 39211
Phone: 601-351-2400
Email: krachal@bakerdonelson.com

 Harold E. Pizzetta, III(MBN 99867)
 Assistant Attorney General
 General Civil Division
 Carroll Gartin Justice Building, 430 High Street
 Jackson, MS 39201



 SO ORDERED AND ADJUDGED,this the 19th day of December, 2016.




                                        /s/Tom S Lee
                                        DISTRICT JUDGE




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